Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 1 of 13 PAGEID #: 30

Franklin County Ohio Clerk of ts of the C Pleas- : -
ore36 - vid y rk of Cour ommon Pleas- 2020 Sep 10 1:08 PM-20CV005980

IN THE COURT OF COMMON PLEAS, FRANKLIN COUNTY, OHIO
CIVIL DIVISION

DON FAIRFAX
4076 KENOSHA ROAD
MEMPHIS, TENNESSEE 38118

PLAINTIFF,
CASE NO.

VS.
JUDGE

LOWE’S HOME CENTER, LLC.

P.O. BOX 14072

LEXINGTON, KENTUCKY 40512
DEFENDANT.

COMPLAINT

he On or about December 10, 2018, Plaintiff, Don Fairfax, was walking into a Lowes
Home Improvement Warehouse, located in Easton, in Franklin County, Ohio, when the door,
owned and maintained by Defendant, Lowe’s Home Center LLC, failed to function properly,
causing Plaintiff to fall, resulting in the damages. injuries and consequences as hereafter set
forth.

2: Defendant, Lowe’s Home Center LLC, negligently and unlawfully in violation of

applicable building codes:

a. failed to inspect the door;

b. failed to warn Plaintiff of the unsafe condition of the door;

C. failed to repair, remove or remedy the dangerous condition of the door;
d. caused or permitted to cause Plaintiff to collide with the door and fall.

3. Asa direct and proximate result of Defendant’s conduct, Plaintiff has:

a sustained severe and permanent injury to his right shoulder;
Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 2 of 13 PAGEID #: 31

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b. suffered and will continue to suffer physical pain, mental anguish and
emotional distress;

e. required and will continue to require medical care, attention and treatment,
all with resulting expenses;

d. sustained and will continuc to sustain a loss of earnings and earnings
capacity; and

e: suffered and will continue to suffer impairment in the use of the affected
areas of his body and a reduction in the quality and enjoyment of his life.

WHEREFORE, Plaintiff, Don Fairfax, now demands judgment against Defendant
Lowe’s Home Center LLC, in an amount in excess of $25,000 as compensatory damages, in

addition to interest and his costs incurred herein.

Respectfully submitted,
SCHIFF & ASSOCIATES CoO., L.P.A.

/s/ Ryan H. Lauer

*Ryan H. Lauer (0083474)
Megan R. Hayden (0093416)
115 West Main Street
Columbus, Ohio 43215
Telephone: (614) 621-8888
Facsimile: (614) 621-8814
mhayden(@scotisch ult com
rlauer@scottschiff.com
Attorneys for Plaintiff

*Please send all correspondence regarding this
case to this attorney only.

Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 3 of 13 PAGEID #: 32

OF236 - nen County Ohio Clerk of Courts of the Common Pleas- 2020 Sep 10 1:08 PM-20CV005980

MARYELLEN O'SHAUGHNESSY

FRANKLIN COUNTY CLERK OF COURTS
GENERAL DIVISION, COURT OF COMMON PLEAS

CASE TITLE: DON FAIRFAX -VS- LOWES HOME CENTER LLC CASE NUMBER: 20CV005980
TO THE CLERK OF COURTS, YOU ARE INSTRUCTED TO MAKE:
CERTIFIED MAIL

DOCUMENTS TO BE SERVED:
COMPLAINT

PROPOSED DOCUMENTS TO BE SERVED:

UPON:

LOWES HOME CENTER LLC
PO BOX 14072

LEXINGTON, KY 40512

JUVENILE CITATIONS ONLY:
HEARING TYPE:

__ Date already scheduled at : Courtroom:

Electronically Requested by: RYAN H. LAUER, SCHIFF
Attorney for:
Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 4 of 13 PAGEID #: 33

E3221 - M89
FROM

MARYELLEN O'SHAUGHNESSY
FRANKLIN COUNTY CLERK OF COURTS
373 SOUTH HIGH STREET

COLUMBUS, OHIO 43215-4579

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LOWES HOME CENTER LLC
PO BOX 14072

LEXINGTON, KY
40512

20CV-09-5980 C

DON FAIRFAX
VS.

LOWES HOME CENTER LLC

SERVICE ITEM: 01
ORIGINAL SUMMONS

CERTIFIED
NUMBER

9214890119 522805978318

CIV354
Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 5 of 13 PAGEID #: 34

E3221 - N66

MARYELLEN O'SHAUGHNESSY
CLERK OF THE FRANKLIN COUNTY COMMON PLEAS COURT, COLUMBUS, OHIO 43215
CIVIL DIVISION

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DON FAIRFAX — =
4076 KENOSHA RD 5S FR OER
MEMPHIS, IN 38118, BO Pen
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20CV-09-5980 me opr:
PLAINTIFF, CASE NUMBER S fae
vs. Cc. ww e265
LOWES HOME CENTER LLC ot tn OOS
PO BOX 14072 e re ~~
LEXINGTON, KY 40512, tH
DEFENDANT.

xe SUMMONS **** 09/10/20
TO THE FOLLOWING NAMED DEFENDANT

LOWES HOME CENTER LLC
PO BOX 14072

LEXINGTON, KY 40512

YOU HAVE BEEN NAMED DEFENDANT IN A COMPLAINT FILED IN FRANKLIN COUNTY
COURT OF COMMON PLEAS, FRANKLIN COUNTY HALL OF JUSTICE, COLUMBUS, OHIO
BY: DON FAIRFAX

4076 KENOSHA RD

MEMPHIS, TN 38118,

PLAINTIFF (S) .
A COPY OF THE COMPLAINT IS ATTACHED HERETO. THE'NAME AND ADDRESS OF
THE PLAINTIFF'S ATTORNEY IS:
RYAN H. LAUER

SCHIFF & ASSOCIATES, CO L

115 WEST MAIN ST
SUITE 100

COLUMBUS, OH 43215

YOU ARE HEREBY SUMMONED AND REQUIRED TO SERVE UPON THE PLAINTIFF'S

ATTORNEY, OR UPON THE PLAINTIFF, IF HE HAS NO ATTORNEY OF RECORD, A COPY
OF AN ANSWER TO THE COMPLAINT WITHIN TWENTY-EIGHT DAYS AFTER THE SERVICE
OF THIS SUMMONS ON YOU, EXCLUSIVE OF THE DAY OF SERVICE. YOUR ANSWER

MUST BE FILED WITH THE COURT WITHIN THREE DAYS AFTER THE SERVICE OF A
COPY OF THE ANSWER ON THE PLAINTIFF'S ATTORNEY

IF YOU FAIL TO APPEAR AND DEFEND, JUDGMENT BY DEFAULT WILL BE RENDERED
AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT

MARYELLEN O'SHAUGHNESSY

CLERK OF THE COMMON PLEAS

FRANKLIN COUNTY, OHIO

BY: BROOKE ELLIOTT, DEPUTY CLERK

(CIV370-S03)

Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 6 of 13 PAGEID #: 35

OF257 ep alin County Ohio Clerk of Courts of the Common Pleas- 2020 Sep 28 3:21 PM-20CV005980

IN THE COURT OF COMMON PLEAS, FRANKLIN COUNTY, OHIO
CIVIL DIVISION

DON FAIRFAX
4076 KENOSHA ROAD
MEMPHIS, TENNESSEE 38118

AND
NICOLE COLLINS

3278 TIMBERSTONE DRIVE
CANAL WINCHESTER, OHIO 43110

PLAINTIFFS,
CASE NO. 20CV005980
VS.
JUDGE SERROTT
LOWE’S HOME CENTER, LLC.
P.O. BOX 14072
LEXINGTON, KENTUCKY 40512
DEFENDANT.
AMENDED COMPLAINT
1. On or about December 10, 2018, Plaintiffs. Don Fairfax and Nicole Collins, were

walking into a Lowes Home Improvement Warehouse, located in Easton, in Franklin County,
Ohio, when the door, owned and maintained by Defendant, Lowe’s Home Center LLC, failed to
function properly, causing Plaintiffs to fall, resulting in the damages, injuries and consequences
as hereafter set forth.

2: Defendant, Lowe’s Home Center LLC, negligently and unlawfully in violation of

applicable building codes:

a. failed to inspect the door;
b. failed to warn the Plaintiffs of the unsafe condition of the door;
© failed to repair, remove or remedy the dangerous condition of the door;

d. caused or permitted to cause the Plaintiffs to collide with the door and fall.
Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 7 of 13 PAGEID #: 36

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3. Asa direct and proximate result of Defendant’s conduct, Plaintiff, Don Fairfax, has:

a sustained severe and permanent injury to his right shoulder;

b. suffered and will continue to suffer physical pain, mental anguish and
emotional distress:

c. required and will continue to require medical care, attention and treatment,
all with resulting expenses;

d. sustained and will continue to sustain a loss of earnings and earnings
capacity; and

€. suffered and will continue to suffer impairment in the use of the affected
areas of his body and a reduction in the quality and enjoyment of his life.

4. Asa direct and proximate result of Defendant’s conduct, Plaintiff, Nicole Collins,

has:

a sustained severe and permanent injury to her back, sides, and toe;

b. suffered and will continue to suffer physical pain, mental anguish and
emotional distress;

c. required and will continue to require medical care, attention and treatment,
all with resulting expenses;

d. sustained and will continue to sustain a loss of earnings and earnings
capacity; and

& suffered and will continue to suffer impairment in the use of the affected

areas of her body and a reduction in the quality and enjoyment of her life.
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Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 8 of 13 PAGEID #: 37
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WHEREFORE, Plaintiff, Don Fairfax. now demands judgment against Defendant
Lowe’s Home Center LLC, in an amount in excess of $25,000 as compensatory damages, in

addition to interest and his costs incurred herein.
WHEREFORE, Plaintiff, Nicole Collins, now demands judgment against Defendant
Lowe’s Home Center LLC, in an amount in excess of $25,000 as compensatory damages, in

addition to interest and his costs incurred herein.

Respectfully submitted,
SCHIFF & ASSOCIATES CoO., L.P.A.

/s/ Ryan H. Lauer

*Ryan H. Lauer (0083474)
Megan R. Hayden (0093416)
115 West Main Street
Columbus, Ohio 43215
Telephone: (614) 621-8888
Facsimile: (614) 621-8814
rmhayden(@scotischilL com
rlaneri@scottschiff.com
Attorneys for Plaintiff
*Please send all correspondence regarding this
case to this attorney only.

Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 9 of 13 PAGEID #: 38

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MARYELLEN O'SHAUGHNESSY

FRANKLIN COUNTY CLERK OF COURTS
GENERAL DIVISION, COURT OF COMMON PLEAS

CASE TITLE: DON FAIRFAX -VS- LOWES HOME CENTER LLC CASE NUMBER: 20CV005980
TO THE CLERK OF COURTS, YOU ARE INSTRUCTED TO MAKE:
CERTIFIED MAIL

DOCUMENTS TO BE SERVED:
AMENDED COMPLAINT

PROPOSED DOCUMENTS TO BE SERVED:

UPON:

LOWES HOME CENTER LLC
PO BOX 14072

LEXINGTON, KY 40512-0000

JUVENILE CITATIONS ONLY:

HEARING TYPE:

__ Date already scheduled at : Courtroom:

Electronically Requested by: RYAN H. LAUER, SCHIFF
Attorney for: DON FAIRFAX
Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 10 of 13 PAGEID #: 39

OF257 ga on County Ohio Clerk of Courts of the Common Pleas- 2020 Sep 28 3:21 PM-20CV005980

MARYELLEN O'SHAUGHNESSY

FRANKLIN COUNTY CLERK OF COURTS
GENERAL DIVISION, COURT OF COMMON PLEAS

CASE TITLE: DON FAIRFAX -VS- LOWES HOME CENTER LLC CASE NUMBER: 20CV005980
TO THE CLERK OF COURTS, YOU ARE INSTRUCTED TO MAKE:
CERTIFIED MAIL

DOCUMENTS TO BE SERVED:
AMENDED COMPLAINT

PROPOSED DOCUMENTS TO BE SERVED:

UPON:

LOWES HOME CENTER LLC
PO BOX 14072

LEXINGTON, KY 40512-0000

JUVENILE CITATIONS ONLY:
HEARING TYPE:

__ Date already scheduled at : Courtroom:

Electronically Requested by: RYAN H. LAUER, SCHIFF
Attorney for: DON FAIRFAX
Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 11 of 13 PAGEID #: 40

E3225 - B68

FROM

MARYELLEN O'SHAUGHNESSY
FRANKLIN COUNTY CLERK OF COURTS
373 SOUTH HIGH STREET

COLUMBUS, OHIO 43215-4579

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RECEIPT

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LOWES HOME CENTER LLC
PO BOX 14072
LEXINGTON, KY

40512

20CV-09-5980 Cc

DON FAIRFAX
VS.
LOWES HOME CENTER LLC

SERVICE ITEM: 06
AMENDED COMPLAINT

CERTIFIED
NUMBER

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CIV354
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MARYELLEN O'SHAUGHNESSY

Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 12 of 13 PAGEID #: 41

CLERK OF THE FRANKLIN COUNTY COMMON PLEAS COURT, COLUMBUS, OHIO 43215
CIVIL DIVISION

DON FAIRFAX
4076 KENOSHA RD

MEMPHIS, TN 38118,

20CV-09-5980
CASE NUMBER

PLAINTIFF,
vs.

LOWES HOME CENTER LLC
PO BOX 14072

LEXINGTON, KY 40512

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DEFENDANT...

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© THE FOLLOWING NAMED DEFENDANT

LOWES HOME CENTER LLC

PO BOX 14072

LEXINGTON, KY 40512

09/28/20

YOU HAVE BEEN NAMED DEFENDANT IN A AMENDED COMPLAINT
FILED IN FRANKLIN COUNTY COURT OF COMMON PLEAS, FRANKLIN COUNTY
HALL OF JUSTICE, COLUMBUS, OHIO

A COPY OF THE AMENDED COMPLAINT

s IS ATTACHED HERETO.
THE NAME AND ADDRESS OF THE PLAINTIFF'S/DEFENDANT'S ATTORNEY IS:
RYAN H. LAUER
SCHIFF & ASSOCIATES, CO L

115 WEST MAIN ST
SUITE 100

COLUMBUS, OH 43215

YOU ARE HEREBY SUMMONED AND REQUIRED TO SERVE UPON THE
PLAINTIFF 'S/DEFENDANT'S ATTORNEY, UPON THE PLAINTIFF/DEFENDANT,
IF HE HAS NO ATTORNEY OF RECORD, A COPY OF AN ANSWER TO THE
AMENDED COMPLAINT

WITHIN TWENTY-EIGHT DAYS AFTER THE
SERVICE OF THIS SUMMONS ON YOU, EXCLUSIVE OF THE DAY OF SERVICE. YOUR
ANSWER MUST BE FILED WITH THE COURT WITHIN THREE DAYS AFTER THE SERVICE
OF A COPY OF THE ANSWER ON THE PLAINTIFF'S/DEFENDANT'S ATTORNEY. IF You

FAIL TO APPEAR AND DEFEND, JUDGMENT BY DEFAULT WILL BE RENDERED AGAINST
YOU FOR THE RELIEF DEMANDED IN THE AMENDED COMPLAINT

MARYELLEN O'SHAUGHNESSY
CLERK OF THE COMMON PLEAS
FRANKLIN COUNTY, OHIO

BY: BROOKE ELLIOTT, DEPUTY CLERK

(CIV370-S04)

Case: 2:20-cv-05487-EAS-CMV Doc #: 4 Filed: 10/20/20 Page: 13 of 13 PAGEID #: 42

=y UNITED STATES

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2020 SEP 30 AH 8: 28
Date Produced: 09/28/2020 CLERK OF COURTS
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The following is the delivery information for Certified Mail™/RRE item number 9214 8901 1952 2805
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KY 40512. The scanned image-of-the recipient ‘ploupg tans, provided below. 5
Signature of Recipient : 7” GEORGE MONTGOMERY

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Address of Recipient : oe

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